Case: 2:18-cv-00736-MHW-EPD Doc #: 42 Filed: 01/17/19 Page: 1 of 1 PAGEID #: 695



                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

Steve Snyder-HIII, etal.,

            Plaintiffs,                    Civil Action 2:18-cv-736

      V.                                   Judge Michael H. Watson

                                           Magistrate Judge Deavers
The Ohio State University,

            Defendant.
                                     ORDER


      The Court held a status conference in this case on January 17, 2019.

Counsel for all parties appeared and participated in the conference.

      As stated at the conference, this case remains at a standstill pending

mediation and further order of the Court. It is therefore ORDERED that

Defendant's Motion to Stay Discovery, ECF No. 25, and Motion to Dismiss, ECF

No. 34, continue to be HELD IN ABEYANCE pending mediation.

      The parties are DIRECTED to confer and file joint recommendations by

January 31, 2019, as to the model of the mediation and individuals who might

serve as mediators.

      IT IS SO ORDERED.

                             MICHAEL H. WATSON, JUDGE
                                HTED STATES DISTRICT COURT


                             ELIZABETH P. QEAVERVI^ASISTRAT'E JUDGE
                             UNITED STATES DISTRICT COURT
